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IN THE UNITED sTATEs DISTRICT CoURT _ _ '_ ,
FoR THE WESTERN DISTRICT oF TENNESSEE 05 »%.?R 20 fail h» l

 

WESTERN DIVISION _ `

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) §§L§H€j.-”-' h°'l`:i'. ivt.l;w'.PHiS
LAJUANA LEWIS, on behalf of herself )
and all others similarly situated, )
)
Plaintiff, )
)

v. ) Case No. 04-2655-D

)
EXXON MOBIL CORPORATION, )
)
Defendant. )
)

 

ORDER DENYING AS MOOT THE MO'I`ION OF DEFENDANT TO DISMISS
(DOCKET ENTRY 10)

 

Before the Court is the September 13, 2004 motion of Exxon Mobil Corporation
(“Defendant”) to dismiss the complaint ofLaj uana Lcwis (“Plaintiff”), filed on behalf of herself and
all others similarly situated On February 7, 2005, the Magistrate Judge granted Plaintiff leave to
file an amended complaintl Thereafter, on February 25, 2005, Defendant filed a second motion to
dismiss as to the first amended complaint As such, the first motion to dismiss is rendered moot,
Accordingly, the Court denies the motion to dismiss as moot.

IT IS SO ORDERED this §§ day of` April, 2005.

 

U ITED STATES DISTRICT JUDGE

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with Fiu!e 58 and/or 79(a) FHCP on ¢//' d

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Ashley M. Barrington

WOOLF MCCLANE BRIGHT ALLEN & CARPENTER
900 Riverview ToWer

900 South Gay St.

KnoX\/ille7 TN 37902

Shelia B. Renfroe

THE RENFROE LAW FIRM, PLLC
P.O. Box 770095

Memphis7 TN 38177--009

John E. Norris

THE RENFROE LAW FIRM
P.O. BoX 770095

Memphis7 TN 38177--009

HoWard E. Jarvis

WOOLF MCCLANE BRIGHT ALLEN & CARPENTER, PLLC
900 S. Gay St.

Ste. 900

KnoX\/ille7 TN 37902--181

D. Frank Davis

THE RENFROE LAW FIRM
P.O. Box 770095

Memphis7 TN 38177--009

Honorable Bernice Donald
US DISTRICT COURT

